                     Case 1:16-cr-10107-DJC Document 29 Filed 04/26/16 Page 1 of 3


AO 199A(Rev. 12/11) Order Setting Conditions of Release                                                   Page 1of   3   Pages



                                       United States District Court
                                                                   for the

                                                     District of Massachusetts



                    United States of America
                                  V.


                                                                                 Case No.   1:16-cr-10107-DJC-5
                         Michael Hablcht
                              Defendant

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collectionof a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervisingofficer in writing before making
      any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:
                                                                                        Place




      on

                                                                      Date and Time


      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
Case 1:16-cr-10107-DJC Document 29 Filed 04/26/16 Page 2 of 3
Case 1:16-cr-10107-DJC Document 29 Filed 04/26/16 Page 3 of 3
